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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                                    )
                                                       )
                 Plaintiffs,                           )
                                                       )
  v.                                                   )      Case No. 3:22-cv-49-NKM
                                                       )
  JOSHUA MAST, et al.,                                 )
                                                       )
                 Defendants,                           )
                                                       )
  and                                                  )
                                                       )
  UNITED STATES SECRETARY OF                           )
  STATE ANTONY BLINKEN, et al.,                        )
                                                       )
                 Nominal Defendants.                   )
                                                       )

              DEFENDANT RICHARD MAST’S MEMORANDUM IN
   OPPOSITION TO FEDERAL DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

         Defendant Richard Mast, through counsel undersigned, hereby opposes the motion for

  protective order (Dkt. No. 203) filed by the United States Secretary of State Antony Blinken and

  United States Secretary of Defense General Lloyd Austin (“Federal Defendants”).

  I.     PREFATORY STATEMENT.

         In the main, Federal Defendants are asking this Court to make new law: a party

  denominated as a nominal defendant will henceforth be insulated entirely from discovery

  notwithstanding the plain language of Rule 34 of the Federal Rules of Civil Procedure, which

  states: “A party may serve on any other party a request within the scope of Rule 26(b) . . ..” Fed.

  R. Civ. P. 34. Nowhere in the Rules is there an exception for a nominal defendant. Indeed,

  nowhere in hundreds of years of federal precedent is there an exception for a nominal
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  defendant―and that includes the U.S. government denominated as a nominal defendant. Yet, that

  is precisely what Federal Defendants now seek: a district court rule that allows a nominal

  defendant, having made the conscious, strategic decision to remain a party to the litigation, to

  enjoy a blanket exemption from Rule 34’s plain language.

         While Defendants Joshua and Stephanie Mast, in their opposition to the motion (Dkt. No.

  209), have provided a forceful response to the case law and legal arguments presented by Federal

  Defendants on this point, which Defendant Richard Mast joins and incorporates herein by

  reference, there is a procedural point that should be addressed in advance of our additional

  discussion of the blanket discovery exemption sought by the motion.

  II.    THE MOTION IS PROCEDURALLY DEFICIENT AND PREMATURE AS TO
         ALL OBJECTIONS RAISED OTHER THAN THE BLANKET EXEMPTION
         ARGUMENT INSOFAR AS FEDERAL DEFENDANTS HAVE NOT
         CONDUCTED ANY MEET-AND-CONFER ON THESE MATTERS AND
         AGREED TO DO SO ONLY IF NECESSARY AFTER THE COURT RULED ON
         THE BLANKET EXEMPTION ARGUMENT.

         The Federal Defendants’ motion not only seeks a blanket exemption from all formal

  discovery, but also raises six different categories of objections and references particular requests

  for production (“RFPs”). Specifically, the motion objects to discovery requests (1) seeking

  documents from agencies not specifically named as nominal defendants (Mem. in Supp. of Mot.

  [“Mem.”] at 11 [Dkt. No. 204]); (2) seeking information not relevant or proportional to the needs

  of any party’s claim or defense in this action, specifically referencing RFPs 3-14, 15, 16, 17, 19-

  25, 27-28 (Mem. at 12-13); (3) that are “overly expansive under any measure,” specifically

  referencing RFPs 3, 5-8, 24 (Mem. at 13, n.5); (4) seeking protected communications, specifically

  referencing RFPs 2-13, 16-17, 23, 24, 28 (Mem. at 13-14); (5) that “impose disproportionate

  burdens because they do not provide sufficient details to identify where the documents sought might

  be found and appear to call on Nominal Defendants to search other agencies’ files,” specifically


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  referencing RFPs 1-2, 18, 27 (Mem. at 14-15); and (6) that are duplicative or already in Defendant

  Richard Mast’s possession, specifically referencing RFPs 25-25, 28 (Mem. at 15-16).

         Pursuant to Rule 26(c)(1), 1 these objections may not be raised in this motion because

  Federal Defendants made no effort to meet and confer on these objections and counsel for the

  parties expressly agreed after conferring on the sovereign immunity/blanket exemption objection

  that these objections would be discussed and conferred upon by the parties after the Court resolved

  the fundamental issue of a blanket objection.           This agreement was memorialized by a

  contemporaneous email drafted and sent immediately after counsel for the parties met and

  conferred on the sovereign immunity issue:

         From: D. Yerushalmi
         Sent: Monday, April 17, 2023 12:52 PM
         To: Wyer, Kathryn (CIV)
         Cc: C. Page
         Subject: Re: [EXTERNAL] Action Item: Baby Doe et al v. Mast et al -- Def. Richard
         Mast Request for Production of Documents from Nominal Defs.

         We just met and conferred. We agree that we disagree regarding the government’s
         requirement to respond to discovery as a nominal defendant and it would not be
         productive to address the remainder of your objections until this is resolved.

         David Yerushalmi*
         American Freedom Law Center®

  Counsel for Federal Defendants attempts to fudge the agreement by adding a footnote in Federal

  Defendants’ memorandum in support of the motion suggesting respective counsel just decided not

  to meet and confer on these issues at all. This is not accurate for at least three reasons, beyond the

  memorialized agreement referenced in the email.


  1
    Fed. R. Civ. P. 26(c)(1) (“A party or any person from whom discovery is sought may move for
  a protective order in the court where the action is pending—or as an alternative on matters
  relating to a deposition, in the court for the district where the deposition will be taken. The
  motion must include a certification that the movant has in good faith conferred or attempted
  to confer with other affected parties in an effort to resolve the dispute without court action.”)
  (emphasis added).
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         First, counsel may not agree to simply avoid the meet-and-confer requirement in violation

  of the Rules. Second, the point of the explicit agreement to postpone the meet-and-confer on the

  specific objections was that it would not be a useful expenditure of time at that point to attempt to

  narrow the issues on the specific objections until the Court ruled on the overarching objection of

  a blanket exemption. Obviously, if the Court were to rule in favor of a blanket exemption, that

  would moot all of the specific objections and obviate any future meet-and-confer. And, third, a

  meaningful meet-and-confer on the specific objections would yield results. For example, to the

  objection that the requests seek documents from unnamed agencies, Defendant Richard Mast

  would readily agree to limit the requests only to documents in the possession of the State

  Department and Department of Defense. Similarly, if there is a statute or rule that precludes

  disclosure of some of the documents, those objections could be dealt with by a privilege log and,

  if appropriate, an in camera review.

         The very point of Rule 26(c)(1) is to narrow the issues for the court and to avoid

  unproductive motion practice that could and should be resolved by professional officers of the

  court acting in good faith. If the Court does not provide Federal Defendants with a blanket

  exemption from discovery, a meaningful meet-and-confer process would likely narrow the

  objections considerably or resolve them altogether.

  III.   FEDERAL DEFENDANTS’ ASSERTION THAT THEY ARE NOT SUBJECT TO
         DISCOVERY AS NOMINAL DEFENDANTS IS WRONG AND THEIR MOTION
         SHOULD BE DENIED.

         As noted above, Defendant Richard Mast adopts and incorporates in full the opposition to

  Federal Defendants’ motion filed by Defendants Joshua and Stephanie Mast (“Mast Defendants

  Opposition”). The Mast Defendants opposition lays bare the lack of legal authority for Federal

  Defendants’ unprecedented position that Federal Defendants may choose to remain in a lawsuit as



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  a party yet avoid the discovery obligations of a party. We wish here to add and to nuance several

  points.

            One, Federal Defendants ignore the fact that parties qua nominal defendants are per the

  plain language of the Rules subject to discovery. See, e.g., Wells Fargo Bank, N.A. v. Lincoln

  Nat’l Life Ins. Co., No. 10-cv-703-TCK-TLW, 2011 U.S. Dist. LEXIS 86411, at *7-8 (N.D. Okla.

  Aug. 4, 2011) (“Rule 34 provides that ‘[a] party may serve on any other party a request within the

  scope of Rule 26(b).’ Rule 26(b)(1) provides that parties ‘may obtain discovery regarding any

  nonprivileged matter that is relevant to any party’s claim or defense.’ Thus, Rule 34 allows one

  party to seek document discovery from any other party so long as that discovery is relevant to a

  claim or defense. . . . Rule 34 does not distinguish between ‘types’ of parties, and it contains no

  exception which would allow a party to withhold relevant documents simply because the party is

  ‘nominal’ or is not ‘a real party in interest.’”) (cleaned up) (underlining in the original).

            Moreover, as the Mast Defendants’ Opposition points out, there is a very straightforward

  procedure available to the Federal Defendants should they wish to be exempted from formal

  “party” discovery: seek dismissal on the grounds of sovereign immunity. Indeed, we would

  challenge Federal Defendants to provide a single case where the federal government elected not

  to be dismissed as a nominal defendant and then sought a blanket exemption from discovery. We

  have scoured the bowels of federal case law archives on Lexis and Westlaw and can find none.

  Not surprisingly, Federal Defendants provide none. That is telling.

            Federal Defendants, of course, recognize the rather stark contradiction between their

  position and the plain language of the Rules, and the rather queer choice they have made not to

  seek dismissal. Thus, they add a footnote in a not-so-veiled attempt to come up with a rationale

  for their decision to remain in the lawsuit in what looks to be a rather crude attempt to tilt the scales



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  in favor of Plaintiffs with what they hope is a plausible deniability that they are not acting like an

  adversarial party. The rather disingenuous rationale they provide is as follows: “Nominal

  Defendants’ participation in this case thus far has otherwise been limited to efforts to appropriately

  protect United States Government information that has been or may be introduced or filed by other

  parties.” (Mem. at 5, n.1). This is silly. Any first year law student, decent journalist, or legally

  attuned layperson knows that if you wish to keep a close eye on a case via all of the ECF filings

  (to protect your secrecy interests, for example), all you need to do is subscribe to the federal court’s

  RSS feed, assuming the case you are interested in was filed in a court with such a “push” feed.

  (Pacer’s FAQs, “How can I receive case alerts using an RSS feed?, at https://tinyurl.com/3f68fer8).

  The Western District of Virginia provides RSS feeds. (Pacer Page for the Western District of

  Virginia at https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/VAWDC).

          Federal Defendants strategic ploy here to remain a party to the lawsuit while attempting to

  enjoy the status of a non-party is further evidenced by the citations they provide in furtherance of

  this rationale. First, Federal Defendants assert that their contribution to Plaintiffs’ draft of a

  protective order to protect government secrets or otherwise confidential information demonstrates

  their worthy and benign interest in remaining a nominal party exempt from discovery. (Mem. at

  5, n.1 [referencing Dkt. No. 177]). The second citation to justify their rationale is their opposition

  to the motion to transfer under seal documents filed in the state court adoption matter to this Court

  out of a concern for the disclosure of sensitive government information. (Id. [referencing Dkt. No.

  182]). The latter two citations in support of their rationale are to federal cases for the proposition

  that the government may protect its interests even as a non-party: “Pursuant to 28 U.S.C. § 517,

  the United States may act to protect its interests in a case without being subject to obligations as a

  party. Yousuf v. Samantar, 699 F.3d 763, 773 (4th Cir. 2012); In re Under Seal, 945 F.2d 1285,



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  1287 (4th Cir. 1991).” (Id.) Yet, in both of these cases, the government filed a statement of interest

  and in the latter, a further notice to the court of a state secrets privilege to protect certain

  confidential or secret government information. In both cases, the government was a non-party

  (i.e., neither a party-in-interest nor a nominal defendant.)

          Indeed, the Congressional Research Services has found that “[i]n cases in which the

  government is not a party, but the nature of the claim is such that litigation could lead to the

  disclosure of evidence that would threaten national security, the government must intervene and

  assert the state secrets privilege.” Congress Research Services, “The State Secrets Privilege:

  National Security Information in Civil Litigation,” April 28, 2022 at 3, available at

  https://crsreports.congress.gov/product/pdf/R/R47081.          This report cites a law review article

  entitled, “The Shadow of State Secrets” (published at 159 U. Pa. L. Rev. 77, 97 (2010)). Id. at 3,

  n.31.

          The law review article points out that the government’s interest to protect confidential or

  secret information has arisen most recently in the courts when civilian contractors working in

  wartime efforts overseas are involved in commercial or tort lawsuits. In these cases, the contractor

  seeks to invoke the state secrets privilege to prevent some or all disclosure and requests the

  executive branch to intervene. (See United States v. Reynolds, 345 U.S. 1, 7-8 (1953) (“There

  must be a formal claim of privilege, lodged by the head of the department which has control over

  the matter, after actual personal consideration by that officer.”) From there, “[t]he federal

  government subsequently (a) does nothing, (b) files a motion of interest and requests time to

  consider the national security implications, (c) files a motion to intervene and requests time to

  consider the national security implications, (d) files a motion to suppress certain evidence, or (e)

  files a motion to dismiss or a motion for summary judgment on state secrets grounds.” Laura K.



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  Donahue, “The Shadow of State Secrets,” 159 U. Pa. L. Rev. 77, 97-98 (2010). Indeed, the case

  law supports Professor Donahue’s analysis of the proper method for the government to protect

  sensitive information. See, e.g., Fitzgerald v. Penthouse Int'l, 776 F.2d 1236, 1238 (4th Cir. 1985)

  (describing the motion to intervene by the Department of the Navy to protect sensitive

  information); Wever v. Aecom Nat’l Sec. Programs, Inc., No. 1:17-cv-00200 (GBL/JFA), 2017

  U.S. Dist. LEXIS 237762, at *2 (E.D. Va. June 15, 2017) (describing the government’s motion to

  intervene in the state court’s action to remove the matter to federal court under the state secrets

  doctrine and to subsequently prevent disclosure in the federal district court filed, per Reynolds, by

  the head of the government department); Restis v. Am. Coal. Against Nuclear Iran, Inc., 2014 U.S.

  Dist. LEXIS 153258, at *2 (S.D.N.Y. Oct. 9, 2014) (same as to government’s motion to intervene

  to assert privilege).

          In view of the dozens of cases following the trajectory of a motion to intervene, it bears

  repeating that Federal Defendants’ failure to provide a single example of a federal defendant

  playing both sides of the fence by participating as a nominal defendant “to protect government

  interests” while claiming a blanket exemption from party discovery speaks quite clearly to the ruse

  they assert now. This Court should not accept Federal Defendants invitation to make new law that

  contradicts the plain language of the Federal Rules of Civil Procedure.

  IV.     CONCLUSION.

          The Court should deny the motion for protective order and permit ordinary party discovery

  against the Federal Defendants so long as they remain parties that have not sought dismissal based

  upon immunity.

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  Dated: May 1, 2023                 Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I hereby certify that on May 1, 2023, a copy of the foregoing was filed electronically.

   Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

   operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

   system. I further certify that a copy of the foregoing has been served by ordinary U.S. mail upon

   all parties for whom counsel has not yet entered an appearance electronically: none.

                                                         /s/David Yerushalmi
                                                         David Yerushalmi, Esq.




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